         Case 17-40180   Doc 48   Filed 06/14/18   Entered 06/14/18 15:16:45   Desc Main Document   Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL                                     §    CASE NO. 17-40180
2014, LP,                                                   §       (Chapter 7)
                                                            §
DEBTOR                                                      §

              OBJECTION TO PROOF OF CLAIM NO. 2 OF THE ALLAN
            AND MARCIA RASTEDE FAMILY REVOCABLE LIVING TRUST

                                  30-Day Negative Notice – LBR 3007(b):

ATTENTION: YOUR CLAIM MAY BE REDUCED, MODIFIED, OR ELIMINATED.
Accordingly, you should read this pleading carefully and discuss it with your attorney, if you
have one in this bankruptcy case. If you do not wish for the court to eliminate or change your
claim, you must file a written response opposing the claim objection, explaining the factual
and/or legal basis for that response.

No hearing will be conducted on this claim objection unless a written response in opposition is
filed with the Clerk of the United States Bankruptcy Court and served upon the party filing
this pleading WITHIN THIRTY (30) DAYS FROM THE DATE OF SERVICE listed in the
certificate of service unless the court shortens or extends the time for filing such response. If
no response in opposition is timely served and filed, this claim objection shall be deemed to be
unopposed, and the court may enter an order sustaining the objection to your claim. If a
response in opposition is filed and served in a timely manner, the court will thereafter set a
hearing with appropriate notice. If you fail to appear at the hearing, your response in
opposition may be stricken. The court reserves the right to set a hearing on any matter.

TO THE HONORABLE BRENDA T. RHOADES, U.S. BANKRUPTCY JUDGE:

         Christopher J. Moser, Trustee ("Trustee") objects to Proof of Claim No. 2 filed by the Allan

and Marcia Rastede Family Revocable Living Trust as an unsecured claim in the amount of

$44,000.00 as follows:

   1. The Allan and Marcia Rastede Family Revocable Living Trust filed Proof of Claim No. 2 as

an unsecured claim in the amount of $44,000.00. A true and correct copy of the claim is attached

hereto as Exhibit “A”.


                                                            1
         Case 17-40180   Doc 48   Filed 06/14/18   Entered 06/14/18 15:16:45   Desc Main Document   Page 2 of 3




    2. Trustee objects to the claim for the reason that the claim is improperly filed as a general

unsecured claim as opposed to an equity interest. The attachment to the claim evidence the fact that

the claimant invested $44,000.00 into the Debtor in exchange for a limited partnership interest in the

Debtor. Holders of limited partnership interests in the Debtor are not owed money from the Debtor

and do not have a “claim” against the Debtor’s bankruptcy estate. See 11 U.S.C. §501(a) (An equity

security holder may file a proof of interest.) 1 (Emphasis added). In short, the claim is based upon an

ownership interest and not based upon any liability arising from the ownership. Accordingly, the

claim is misclassified since it does not qualify as a general unsecured claim.

    3. Trustee requests that Claim No. 2 be disallowed as filed but reclassified as a limited

partnership equity interest in the amount of $44,000.00 and that the claim be subordinated to allowed

general unsecured claims pursuant to 11 U.S.C. §510(b).

         WHEREFORE, PREMISES CONSIDERED Trustee prays that this Court enter an order

disallowing the claim as a general unsecured claim and subordinating the claim to all other claims

other than those claims similarly situated and that Trustee be granted such other and further relief to

which he may be justly entitled.




1
  Section 501(a) of the Bankruptcy Code contemplates that equity security holders are to file proofs of their equity
interest as opposed to proofs of claim, and will be classified and treated separately from unsecured, secured and
priority creditors. See 11 U.S.C. §§1122(a) and 1129(b)(2) which each require different treatment for interests
compared with secured and unsecured claims.
                                                            2
        Case 17-40180   Doc 48   Filed 06/14/18   Entered 06/14/18 15:16:45   Desc Main Document   Page 3 of 3




                                                       Respectfully submitted,

                                                       QUILLING, SELANDER, LOWNDS,
                                                       WINSLETT & MOSER, P.C.
                                                       2001 Bryan Street, Suite 1800
                                                       Dallas, Texas 75201-4240
                                                       (214) 880-1805 (Telephone)
                                                       (214) 871-2111 (Facsimile)
                                                       cmoser@qslwm.com (Email)

                                                       By: /s/ Christopher J. Moser
                                                          Christopher J. Moser

                                                       ATTORNEYS FOR TRUSTEE


    TRUSTEE’S DECLARATION UNDER LOCAL BANKRUPTCY RULE 3007(a)(2)

        I, Christopher J. Moser, the Chapter 7 Trustee in the above case, hereby declare under
penalty of perjury that I have read the foregoing Objection and that the factual allegations made
in such Objection are true and correct to the best of my knowledge, information and belief.

Date: June 14, 2018                          /s/ Christopher J. Moser


                                      CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing Objection has been served via
first class mail, postage prepaid, on this 14th day of June, 2018, upon the following:

Office of the U.S. Trustee                                      The Allan and Marcia Rastede Family
300 Plaza Tower                                                 Revocable Living Trust
110 North College Avenue                                        211 S. Grove Street
Tyler, Texas 75702                                              Allen, Ne. 68710

Payson Petroleum 3 Well 2014, LP                                Daniel P. Winikka, Esq.
2652 FM 407 E., Suite 250                                       Loewinsohn Flegle Deary Simon, LLP
Bartonville, TX 76226                                           12377 Merit Drive, Suite 900
                                                                Dallas, TX 75251
Payson Petroleum 3 Well, LP
1757 Harpsichord Way                                            Keith William Harvey, Esq.
Henderson, NV 89012                                             6510 Abrams Road, Suite 280
                                                                Dallas, TX 75231

                                                                 /s/ Christopher J. Moser


                                                                                       3
